    Case 1:25-cv-11472-ADB   Document 62   Filed 06/12/25   Page 1 of 10




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS

PRESIDENT AND FELLOWS OF HARVARD COLLEGE,

          Plaintiff,

     v.
                                                   Case No. 1:25-cv-11472-ADB
DEPARTMENT OF HOMELAND SECURITY, et al.


          Defendants.


                MOTION TO ENTER PLAINTIFF’S PROPOSED
                   PRELIMINARY INJUNCTION ORDER
       Case 1:25-cv-11472-ADB          Document 62        Filed 06/12/25      Page 2 of 10




                                       INTRODUCTION

       Harvard University (“Harvard”) respectfully moves this Court to enter the attached

proposed order (“Plaintiff’s Proposed Order,” attached as Exhibit A). That order implements the

Court’s directive to maintain the status quo with respect to Harvard’s Student and Exchange

Visitor Program (“SEVP”) certification and Exchange Visitor Program (“EVP”) designation while

the administrative process contemplated by the government’s May 28, 2025 Notice of Intent to

Withdraw (“NOIW”) proceeds. 1 By contrast, the government’s proposed order does not preserve

the status quo. It seeks instead to preserve the government’s ability to reimpose the precise result

inflicted by the May 22, 2025 Revocation Notice under a different name. Moreover, the

government’s order would guarantee the exact dynamic that the Court seeks to avoid. Under its

proposal, the government can withdraw Harvard’s SEVP certification or EVP designation on a

moment’s notice, triggering another chaotic rush to the courthouse and request for emergency

relief to stem the serious and irreparable harm that would once again result. For the reasons that

follow, Plaintiff’s Proposed Order should be entered.

                                          ARGUMENT

       At the preliminary injunction hearing on May 29, 2025, this Court ruled that it would grant

a preliminary injunction to maintain the status quo, provide protection to international students,

and “stopgap whatever harm [Harvard is] experiencing.” Transcript of May 29, 2025 Hearing at

6:25-7:1-5, 14:20-23, 15:3-9 (“Hearing Tr.”). Following the Court’s directive, the parties

exchanged draft proposed orders and then conferred to try to resolve differences. The parties




1
 Harvard reserves all rights to challenge the NOIW process, including but not limited to on First
Amendment and APA grounds.


                                                 1
       Case 1:25-cv-11472-ADB          Document 62        Filed 06/12/25      Page 3 of 10




reached agreement on paragraphs A, B, C, D, E, and G of the proposed order, and narrowed their

disputes to three issues in paragraphs F and H. 2 Each disagreement is addressed in turn below.

       I.      Paragraph F is Appropriately Tailored to Preserve the Status Quo

       The first dispute concerns paragraph F, which precludes the government “from giving

effect to any suspension, withdrawal, revocation, termination, or other alteration of Plaintiff’s

SEVP certification or Exchange Visitor Program designation or any other departure from the

status quo by means of a categorical restriction of Plaintiff’s authority to sponsor

nonimmigrant F visas or J visas,” except by the agency process invoked by the NOIW. The

government objects to the language in bold.

       This Court indicated at the May 29, 2025, hearing that “I want to make sure [the order is]

worded in such a way that nothing changes until you’ve gotten through your process on the notice

of intent to withdraw and we see where that ends up.” Hearing Tr. at 14:20-23. As the Court

recognized, “people are afraid and reluctant to come here.” Id. at 14:2-3. As a result, the Court

indicated that the government should maintain the status quo with respect to Harvard’s ability to

have international students while the administrative process unfolds: “I want to maintain the status

quo, so I want to stopgap whatever harm [Harvard is] experiencing as a result of the process being

undertaken by the government … [and] I want to make sure that the status quo is clearly maintained

to the extent we can make that happen.” Id. at 15:3-9.

       Harvard’s Proposed Order does just this and no more. The status quo here is the parties’

positions prior to May 22, 2025, when Harvard’s authority to sponsor foreign nonimmigrant

students had been settled for decades. Harvard’s proposal therefore precludes the government from




2
  Counsel accordingly certify that per Local Rule 7.1(a)(2), they have conferred, narrowed the
issue, and attempted in good faith to resolve it.


                                                 2
       Case 1:25-cv-11472-ADB           Document 62        Filed 06/12/25      Page 4 of 10




disturbing this status quo, either through giving effect to the May 22, 2025 Revocation Notice or

by accomplishing the same result through another categorical restriction on Harvard’s authority to

sponsor non-immigrant students.

       The Court’s power to enter such a status quo order is clear. Preliminary injunctions are

meant to “preserve the relative positions of the parties until a trial on the merits can be held.”

Lackey v. Stinnie, 145 S. Ct. 659, 667 (2025) (quotation marks omitted). This includes, where

appropriate, preventing the parties from unsettling the status quo in new ways linked to the original

alleged violation. Courts hold “broad power to restrain acts which are of the same type or class as

unlawful acts which the court has found to have been committed or whose commission in the

future, unless enjoined, may fairly be anticipated from the defendant’s conduct in the past.” Brown

v. Tr. of Bos. Univ., 891 F.2d 337, 361 n.23 (1st Cir. 1989) (quotation marks omitted) (holding

that the court could prospectively enjoin new mechanisms of discrimination against the plaintiff

employee, though it could not preclude any discrimination against any other employee). Thus, this

Court “has the authority to restrain not only the exact same act as the one found unlawful,” but

also “possible future [action]” if the moving party “demonstrate[s] that there exists some

cognizable danger of recurrent violations.” EEOC v. Aviation Port Serv., LLC, No. 18-cv-10909,

2020 WL 1550564, at *12 (D. Mass. Apr. 1, 2020) (internal quotation marks omitted). The

government simply has no entitlement to impose the precise same harm through creative re-

labeling.

       Nor is it speculative to believe the government might seek an alternative categorical

restriction. Even in the short time since the hearing, the government has committed to continuing—




                                                 3
       Case 1:25-cv-11472-ADB          Document 62        Filed 06/12/25      Page 5 of 10




indeed to intensifying—its retaliatory campaign. 3 A properly tailored injunction is demonstrably

necessary to prevent the government from implementing the same Revocation Notice under a

different name and to provide reassurance to Harvard’s international students. Absent Harvard’s

proposed language, there is nothing to stop the Department of Homeland Security (“DHS”) from

issuing a new Revocation Notice with a new date, or simply cutting off Harvard’s access to the

Student and Exchange Visitor Information System (“SEVIS”), and, as the Court is rightly wary of,

again throwing Harvard and its international community into turmoil.

       In short, as this Court recognized, this injunction is intended to avoid “end[ing] up back

here in essentially the same place” if the government disturbs the status quo by imposing

categorical restrictions on Harvard’s authority to sponsor nonimmigrant visas. Hearing Tr. at 5:16.

Harvard’s Proposed Order properly seeks to preserve the status quo and to suspend the harm that

these actions will inflict until this Court has a chance to rule. As the Supreme Court has observed,

it is “a salutary principle that when one has been found to have committed acts in violation of a

law he may be restrained from committing other related unlawful acts.” NLRB v. Express Publ’g

Co., 312 U.S. 426, 436 (1941).

       II.     Paragraph F’s 30-Day Stay to Seek Judicial Review is Appropriate

       The government objects to proposed language in Paragraph F that would briefly stay the

effectiveness of a future withdrawal of Harvard’s certification for 30 days to allow for orderly

judicial review. That language provides as follows: “Any suspension, withdrawal, revocation,




3
 See, e.g., Sophia Cai & Megan Messerly, White House Convenes Meeting to Brainstorm New
Harvard Measures, POLITICO (May 30, 2025), https://www.politico.com/news/2025/05/30/
white-house-convenes-meeting-to-brainstorm-new-harvard-measures-00376782;       Presidential
Proclamation, Enhancing National Security by Addressing Risks at Harvard University (June 4,
2025), https://www.whitehouse.gov/presidential-actions/2025/06/enhancing-national-security-
by-addressing-risks-at-harvard-university.


                                                 4
       Case 1:25-cv-11472-ADB          Document 62        Filed 06/12/25      Page 6 of 10




termination, or other alteration of Plaintiff’s SEVP certification or Exchange Visitor Program

designation through the procedures laid out in 8 C.F.R. §§ 214.3 and 214.4, including as executed

by issuance of the May 28, 2025 NOIW, shall be stayed for 30 days to permit the parties to

seek injunctive relief as appropriate from the Court.” The Court should adopt Harvard’s

proposed language. Requiring Harvard to rush to the courthouse for a third time, and requiring the

Court to take up these issues on an emergency basis yet again to prevent predictable harms—the

inevitable result of the government’s approach—is inefficient, ineffective, and unnecessary.

       As the Court recognized on May 29, even with “the procedural niceties having been better

observed,” questions as to the constitutionality of these revocations—flowing as they appear to

from the enjoined May 22, 2025 letter and the government’s violation of Harvard’s First

Amendment rights—are inevitable. Hearing Tr. at 5:17. The NOIW process, or any other

categorical action the government takes against Harvard’s ability to host nonimmigrant

international students or scholars, will not have “mooted any of the issues about whether that was

done in violation of the First Amendment rights, in a retaliatory fashion.” Hearing Tr. at 12:18-21.

And it is “axiomatic” that this court has the “inherent power to control its own docket to ensure

that cases proceed before it in a timely and orderly fashion.” Torres-Ronda v. Nationwide Mut. Ins.

Co., 18 F.4th 80, 85 (1st Cir. 2021) (quoting United States v. Correia, 531 F.2d 1095, 1098 (1st

Cir. 1976)).

       Accordingly, Harvard seeks to preserve time to seek relief as appropriate from the Court.

The government, by contrast, contends that this pause is unnecessary because after revocation,

Harvard can again rush to seek a TRO. But that course injects unnecessary uncertainty for Harvard

and its students, who may yet again have their status as lawfully present nonimmigrants in the

United States abruptly and categorically rescinded, and threatens to inflict continued chaos and




                                                 5
       Case 1:25-cv-11472-ADB            Document 62         Filed 06/12/25       Page 7 of 10




lasting damage on Harvard for no compelling reason. As Harvard demonstrated, the harm of the

May 22, 2025 letter was immediate and irreparable. The government’s suggestion thus ignores the

very “real harm” and uncertainty that Harvard has endured and is still enduring. Hearing Tr. at

14:2. It also falls short of what is required to preserve the status quo and to give, as the Court asked,

“some protection” to students who are “anxious,” “afraid[,] and reluctant to come here.” Hearing

Tr. at 6:25-7:1-5, 14:3. The Court should enter Harvard’s Proposed Order, which comports with

the Court’s instructions and avoids those unnecessary harms.

        III.    Paragraph H is Warranted and Commonplace

        The parties’ final disagreement is over paragraph H, which orders the government “to file

a status report within 72 hours of entry of this Order describing the steps taken to ensure

compliance with this Order—including providing a copy of the guidance described in Section

D above—and certifying compliance with its requirements.” The parties agree on section D, which

requires the government to “immediately prepare guidance to” its officers, staff, employees, and

contractors to disregard the May 22, 2025 Revocation Notice and restore all visa holders and

applicants to the status quo ante, before DHS issued the Revocation Notice. But the government

objects to the bolded language in Paragraph H.

        This language touches only guidance mandated by this Court. It does not implicate

privileged legal advice or work product. “Neutral, objective analyses” of an agency’s obligations

under the law are not typically privileged. Coastal States Gas Corp. v. Dep’t of Energy, 617 F.2d

854, 863 (D.C. Cir. 1980). Likewise, statements embodying the agency’s “effective law and policy”

and “instructions to staff that affect a member of the public” are not shielded from disclosure.

NLRB v. Sears, Roebuck & Co., 421 U.S. 132, 153 (1975); see also Nat’l Day Laborer Org.

Network v. U.S. Immigr. and Cust. Enf’t, 486 F. Supp. 3d 669, 693 (S.D.N.Y. 2020) (guidance




                                                   6
       Case 1:25-cv-11472-ADB           Document 62        Filed 06/12/25      Page 8 of 10




distributed to every agency employee was not privileged). The guidance contemplated in paragraph

D, by definition, will be the “working law” of the agency by virtue of this Court’s order, and

therefore must be disclosed. Brennan Ctr. for Just. at N.Y. Univ. Sch. of L. v. U.S. Dep’t. of J., 697

F.3d 184, 199-200 (2d Cir. 2012).

       Harvard seeks to require the government to file this guidance to aid the Court in enforcing

the Order, to demonstrate the government’s compliance, and assure Harvard’s students—both

current and prospective—that the government has complied and that their visa status is not

therefore at imminent or arbitrary risk. Given the government’s pattern of behavior thus far and

the chaos it has inflicted, this surety is more than warranted. District courts commonly impose this

requirement when granting preliminary injunctions in cases involving a wide range of government

agencies—including at least one of the agencies involved here. See, e.g., AIDS Vaccine Advoc.

Coal. v. U.S. Dep’t of State, 766 F. Supp. 3d 74, 85 (D.D.C. 2025). 4

                                          CONCLUSION

       This Court should grant the preliminary injunction and enter Harvard’s Proposed Order.




4
 See also Martin Luther King, Jr. Cnty. v. Turner, No. 25-cv-814, 2025 WL 1582368, at *22 (W.D.
Wash. June 3, 2025); Colorado v. U.S. Dep’t of Health & Hum. Servs., No. 25-cv-00121, 2025
WL 1426226, at *24 (D.R.I. May 16, 2025); Woonasquatucket River Watershed Council v. U.S.
Dep’t of Agric., No. 25-cv-00097, 2025 WL 1116157, at *26 (D.R.I. Apr. 15, 2025), appeal
docketed, No. 25-1428 (1st Cir. May 1, 2025); Nat’l Council of Nonprofits v. Off. of Mgmt. &
Budget, 763 F. Supp. 3d 36, 58 (D.D.C. 2025); PFLAG, Inc. v. Trump, No. 25-cv-337, 2025 WL
685124, at *33 (D. Md. Mar. 4, 2025); Nat’l Council of Nonprofits v. Off. of Mmgt. & Budget, No.
25-cv-239, 2025 WL 597959, at *20 (D.D.C. Feb. 25, 2025), appeal docketed, No. 25-5148 (D.C.
Cir. Apr. 25, 2025); New York v. Trump, 764 F. Supp. 3d 46, 54 (D.R.I. 2025), appeal docketed,
No. 25-1138 (1st Cir. Feb. 10, 2025).

                                                  7
     Case 1:25-cv-11472-ADB       Document 62    Filed 06/12/25       Page 9 of 10




Dated: June 12, 2025                        Respectfully submitted,

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                                        8
      Case 1:25-cv-11472-ADB          Document 62       Filed 06/12/25      Page 10 of 10




                                CERTIFICATE OF SERVICE

       Counsel for Plaintiff certify that they have submitted the foregoing document with the

Clerk of Court for the District of Massachusetts, using the electronic case filing system of the

Court. Counsel for Plaintiff hereby certify that they have served all parties electronically or by

another manner authorized by Fed. R. Civ. P. 5(b)(2).



                                                            By: /s/ Ian H. Gershengorn

Dated: June 12, 2025




                                                9
